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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       No. 1:21-cr-175-1, 2, 3, 5 (TJK)
                  v.                        :
                                            :
ETHAN NORDEAN,                              :
                                            :
JOSEPH BIGGS,                               :
                                            :
ZACHARY REHL, and                           :
                                            :
ENRIQUE TARRIO,                             :
                                            :
                       Defendants.          :

    GOVERNMENT’S MOTION TO FILE OVERSIZE OMNIBUS OPPOSITION TO
      DEFENDANTS’ MOTIONS TO DISMISS SOME OR ALL OF THE THIRD
                     SUPESEDING INDICTMENT

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, hereby requests leave of Court to file an omnibus opposition to the

defendants’ collective motions to dismiss that is two pages over the 45-page limit prescribed by

LCrR 47(e). In support of its request, the government states as follows:

       On August 30, 2022, this Court granted by Minute order the government’s motion for an

extension of time to file an omnibus response to the defendants’ various motions to dismiss the

Third Superseding Indictment. Minute Order dated August 30, 2022. One of the reasons the

government moved for the extension was that filing an omnibus opposition would increase judicial

economy. See ECF No. 444. The government submits that, because it is responding to six

separate motions, filing this omnibus response two pages over the size limit that is in place for

responding to one motion is supported by good cause.

       Government counsel reached out to counsel for the above-captioned defendants shortly

before filing to ask their position on this motion. Defendant Rehl represented through counsel
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that he does not oppose. As of filing, undersigned has not heard back from counsel for the other

defendants.

       Accordingly, the government requests that the Court sign the attached proposed order

granting the government’s motion to file its omnibus opposition two pages over the size limit.


                                             Respectfully Submitted,

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                                             United States Attorney
                                             D.C. Bar No. 481052

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